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           EXHIBIT	G	
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        1    STATE OF ILLINOIS          )
                                        )    ss.
        2    COUNTY OF C 0 0 K          )


        3·        IN THE CIRCUIT COURT ·oF COOK COUNTY, ILLINOIS
                       COUNTY DEPARTMENT - CRIMINAL DIVISION
        4
             THE PEOPLE OF THE STATE           )
        5    OF ILLINOIS,                      )
                                               )
        6                    Plaintiff,        )
                                               )
        7        vs.                           )       No.   93 CR 1873(01)
                                               )             93 CR 1873(03)
        8    ARMANDO-SERRANO and               )
             JOSE MONTANEZ,                    )
        9                                      )
                             Defendants.       )
       10

       11                    REPORT OF PROCEEDINGS had at the hearing

       12     of the above-entitled cause before the HONORABLE

       13     MAURk SLATTERY BOYLE,         Judge of said court,       on _the

       14     15th day of· May,     2013.

       15        PRESENT:                                                         ll'!""'oL, __




                 HONORABLE ANITA M. ALVAREZ,
       16          State's Attorney of Cook County, py:
                 MR . . JAMES PAPA, MS. CELESTE STACK and
       17        MR. KURT SMITKO
                 Assistant State's Attorneys,
       18                appeared on behalf of the People;

       19        MS.   JENNIFER BONJEAN
                        appeared on behaif of the Defendant Armando
       20              Serrano.

       21        MR.    RUSSELL AINSWORTH and 7-11 CAITLIN BROWN,
                       appeared on behalf of the Defendant Montanez.
       22
              Denise A. Gross, CSR# 084-003437
       23     Official Court Reporter
              2650 S. California, Room 4C02
       24     Chicago, Illinois 60608

                                                   1




                                                                    Plaintiff 003525
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       1     that it must be yes.         It has to be yes.            This is an

       2     ~xtraordinary     case.     No case like this has come

       3     befo~e    this Court.

       4                 Your Honor when Mr.             Vargas was killed that

       5     day,    it tore his family apart,             and I   understand the

       6     need to    hav~   justice done for'his case.              However,      I

       7     submit to the Court that there are two other

       8     families ,that were destroyed as well when

       9     Mr.    Montanez and Mr.     Serrano. were convicted.              And

      10     there is no need to -- there's no need to multiple

      11     the tragedy that occurred to the'Vargas family by

      12     repeating the injustices to Mr.                Montanez and

      13     Mr.    Serrano's families.          So 1    your Honor,   we ask

      14     that you do justice and        we        ask that you vacate the

      15     convictions against Mr.        Montanez and Mr.             Serrano.

      16     Thank you.

      17            THE COURT:     Thank you,           Mr. Ainsworth.

      18                 Ms.   Stack?

      19                             OPENING STATEMENT

      20                                BY MS.     STACK:

      21            I don't want to say arrything in these remarks

      22     that are too 6bvious,        but there seems to be in

      23     these statements a lot of self-serving denial of

       24    basic facts about our system.                 These gentlemen had


                                                 38




                                                                         Plaintiff 003562
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       1     every constitutional right afforded to anyone who

       2     becomes a suspect and arrested.               This is not a

       3     trial.        They are not here for the first time.               They

       4     weren't denied access to the courts.                They weren't

       5     denied access to effective counsel.                The names in

       6     these transcripts are some of the most experienced

       7     attorneys in this building.               These gentlemen are

       8     guilty of these murders.             There was plenty of

       9     evidence to more than prove our burden beyond·a

      10     reasonable doubt.           There's the survivipg widow who

      11     saw them the night before they murdered her husband

      12     because her husband made the mistake of showing a

      13     wad of cash in a gas station.               They followed the

      14     family home,       cam~    back,   s~t   on the place and when

      is     he went to work at 5:00 in the morning,               a good

      16     family man,       a young family,        two young sons,    you

      17     kno~,    hard-working man that had been at the same

      18     place.of       emp~oyment    for. 12 years and he's up at the

      19     crack of dawn,         before Dawn,      going to work,    and

      20     these muts who want money --

      21             MS.   BONJEAN:     Objection.

      22             THE COURT:       Sustained.

      23             MS.   STACK:      I apologize.

      24             THE COURT:       Everybody,      please.   I -am going to

                                                 39




                                                                     Plaintiff 003563
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       1     remind you again;       the Court's approach

       2           MS.    STACK:    I apologize.

       3           THE COURT:       Everyone,    please remember that I

       4     demand,      not only for the Court,         but amongst each

       5     other~      professional civilitx.          Continue on.

       6           MS.    STACK:    Your Honor,      I   apologize.

       7                   But the bottom line,          the facts of this

       8     record that were proven at the trial,               that they

       9     already had showed that they were in a gang.                     That

      10     they robbed people.         They took their money and they

      11     bought drugs.         And what happened was -- what the

      12     law enfor6ement officers· knew-- was that the

      13     victim,      Rodrigo Vargas,    went to his job that

      14     morning,      and he -- the neighbor lady saw him but

      15     there -- a number of people heard the gun shots at

      16     5:30 a.m . . There'S a school across the street.                   A

      17     number of people in the ne i ghb<;> rhood heard 6 or 8

      18     gun shots.       The victim was shot five times,             I

       19    believe.      ·At least four.      And the neighbor lady,

       20    Anna Valez,      who also baby-sat, looked out again

       21     later,     unfortunately no one in that neighborhood

       22     thought much of hearing gun shots -- it was a

       23     common occurrence -- and when she looked out at

       24     7:00a.m.      and saw that Rodrigo's van was still

                                                40




                                                                      Plaintiff 003564
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        1     there.    she knew something was wrong,        because he

        2     normally ran the van for a few minutes and then

        3     left for work.      She went up.       She looked in and saw

        4     his dead body inside his van clutching the pull-out

        5     radio.     That radio they     tr~ed   to take from him.       He

        6     fought them and they shot him,          and left him there

        7     in the street to die.        But nobody knew that.

        8     Nobody knew what happened other than Rodrigo was

        9     found shot in the ,van.        And nobody knew that he had

       10     been followed the night before.           And the case had

       11     basically stopped.

       12                 But four months later Francisco Vincente

       13     was in the State's attorney•s·office in one of our

       14     offices talking to Assistant State's Attorneys

       15     because, .yes,    he had a number of armed robberies

       16     and he was cooperating with the State's Attorney's

       17     Office.     He was trying to cut himself a deal.            And

       18     that Is the thing about this case,          Francisco

       19     Vincente at trial was cross-:-examined by a           number of

       20     experienced attorneys,        and the thing about

       21     Francisco Vincente is,        he certainly is who he is,

       22     and he also,     like the defendants,       was an armed

       23     robber who preyed upon peo'ple so he could buy

       24     drugs --

                                              41




                                                                  Plaintiff 003565
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        1            MS.    BONJEAN:     Objection,         your Honor.

        2    Counsel

        3            THE COURT:        Overruled.          This is argument.

        4    Continue on.

        5            MS.    STACK:     The action,         the evidence clearly

        6     shows --

        7            MS.    BONJEAN:     It's inadmissible.

        8            THE COURT:        Counsel,       continue on.

        9            MS.    STACK:     The actions and evidence shows what

       10     this gentlemen did and do.                  Vincente testified at

       11     length about it,' and when he was talking to them

       12    about another case,              and all of this is in the

       13     record,       all of this was brought out in front of the

       14     jury.        Nbbody tried to portray Vincente as anything

       15     other than who he is.

       16            MS.    BONJEAN:     Objection,         your Honor,   misstating

       17     the record.

       18            THE COURT:        Ms.     Bonjean,     this is argument.       I

       19     have afforded you the opportunity and afforded

       20    . Mr.   Ainsworth.        Ms.    Stack,      continue.

       21             MS.   STACK:     And ihe iecord will bare that out.

       22             MS.   BONJEAN:         No,   it won't.

       23             MS. ·sTACK:      What Vincente remembered was a few

       24     hours after the murder,               he ran into the three

                                                     42




                                                                          Plaintiff 003566
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       1     defendants who he knew,          and they were hanging out.

       2     on the corner in their territory,             and the three of

       3     them were arguing because they were mad that one of

       4     them    h~d·   botched the robbery by killing the        vi~tim


       5     and.forcing them to flee without the proceeds.                 And

       6     that's when Vincente found out something that no

       7     one else knew,        he found out that they had seen the

       8     young family at a gas station the night before,                and

       9     when one of the        d~fendants      got out and went.into

      10     the gas station,        Mr.   Vargas made ·the simple

      11     physical action that lead to his 2eath.              He took

      12     his hand out of his pant's pocket with a big wad of

      13     cash.     He had over $350 in his hands in a           knot of

      14     money as described by his wife,             and they saw that

      15     money.

      16                    Now,   no one put that together until four

      17     months later,         Francisco Vincente did.      And that was

      18     the beauty of his testimony.              As unbeautiful as he

      19     was,    with all his armed robberies,          and again,

       20    nobody -- that was the first thing he was asked

       21    about    -~    the jury,   the Judge,      knew he had not one;

       22     not two,      but four tases pending.         But it didn't

       23    matter because when           you~re    prosecuting people of

       24     this ilk,      people that have information are also

                                                43




                                                                   Plaintiff 003567
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       1     people of this same ilk,           and that's what happened

       2     here.      And it basically was a lucky break that got

       3     some measure of justice for this family.              It

       4     w6uldn't bring the father back.              It wouldn't change

       5     what happened to him,           but he made the unfortunate

       6     mistake of flashing a wad of cash in front of these

       7     men.     And when the victim returned to his car,            it

       8     also happened that the defendant's car,             which a lot

        9    of people talked about and identifiedj             was parked

      10     in a    45-degree angle blocking the family from

      11     leaving the gas station.            So you have a lot of

      12     corroboration in the record.              There's a lot of

      13     evidence in the record.            There's other !D's in the

      14     record.

      15             MS.   BONJEAN:     Objection.

      16             THE COURT:       Overruled.

      17             MS.   BONJEAN:     Misstating the record.      Complete

      18     lies.

      19             THE COURT:       Ms.   Bonjean.

      20             MS.   BONJEAN:     It's complete lies.

       21            THE COURT:       I am going to impose    san~tions.


       22    Continue on.

       23            MS.   STACK:     Because they had blocked Rodrigo's

       24     van in,      his wife testified that when he got in the

                                                44




                                                                  Plaintiff 003568
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        1   .car,    the three men,          there were two still in the

        2     car,   one was in the gas station and they were

        3    blocking his exit from the vehicle,               from the gas

        4     station.       He honked the horn,       Ms.   Vargas testified

        5     that then her husband blasphemed.               He swore.    Not

        6     at them,      but inside the privacy of his van.            He

        7     swore.     He was angry she said because he was

        8     blocked in by these people.              So both he and his

        9     wife   we~e    focused on the defendant's car in the gas

       10     station that night.             Then one of them came out,

       11     they moved the car,            and they -- and the Vargas'

       12     left the gas         st~tion.     And Rodrigo was still angry,

       13     and they both noted that the defendant's vehicle

       14     followed them out of the gas station and down the

       15     street for a ways,         and she said at one point she

       16     stopped looking out the window.                She wasn't aware

       17     whether they followed them all the way home.                  But

       18     we know from Francisco Vincerite that they did,                   and

       19     when they saw where the family stopped and exited,

       20     they marked the place,            and'they went back.       And

       21     that unfortunate display of cash in a gas station,

       22     lead to this case.

       23                   And,    again,    from all the arguments that

       24     sound like· trial· closing arguments,             you would think


                                                  45



                                                                     Plaintiff 003569
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        1     that we've never been through this process,              but we

        2     have.     These men asserted their rights.           They had

        3     counsel.      They had motions,       trial,   et cetera.    And

        4     they had direct appeals.          We have a wonderful

        5     criminal justice system here,           and in Illinriis we

         6    have extensively extended it through the

        7     post-conviction li·tigation.           Your Honor is well

        8     aware of the stages of        post-convict~on      liti~ation.


         9    How it works is inmates are allowed to start their

       10     own litigation from prison.            And if you make an

       11     actual innocence claim,        there's no statute of

       12     limitation,        and because the legislature anticipated

       13     that     in~ates    would be filing their own petitions

       14     without the help of lawyers and from prison,                they

        15    get a first stage,        where the State does not

        16    participate and the Judge reviews their pro se

        17    petition to see whether there's anything there that

        18    merits further review and the standard is very

        19     liberal to docket or move the petition on to

        20     Stage 2.     And at Stage 2,     even inmates who have no

        21     resources    wh~tsoever,    which most inmates don't,

        22     they are given free counsel.           So the se6ond stage

        23     takes place ahd they get counsel to review their

        24     case,    investigate and draft a petition.          And the

                                               46




                                                                   Plaintiff 003570
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        1     point of all     thi~     is,   at the setond stage and at

        2     the first     stage,    we are not allowed to attack the

        3     substance or credibility of any·of these arguments

        4     or any of the evidence or affidavits or documents

        5     that are put forth.

        6                  At the sec6nd stage we either. have to

        7     agree to a hearing like this or argue that as a

        8     matter of law,         even if you believe their

        9     affidavits,     they simply don't have any right to a

       10     PC third stage hearing.             So the point I        want to

       11     make is one that yout ·Honor is well aware of,                       but

       12     that is very.significant.                 Today marks the

       13     beginning of the time when we get to attack the

       14     evidence for the first time.                 Vincente has

       15     recanted.      What wasn't meritioned here was that

       16     Vincente i s    hi s    recant at i on was g i v e.n a f t e r   a

       17     number of encounters. with people who were very

       18     interested in getting his recantation that worked

       19     for Northwestern University and their Innocence

        20     Projects.     And we have documents that show the

        21    incentives that were offered.

        22          MS.    BONJEAN:      Objection,       your Honor.

        23          THE COURT.:       Overruled.

        24          MS.    STACK:     None of that has been given to your

                                                   47



                                                                         Plaintiff 003571
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       1     Honor to consider•        We have not yet begun this

       2     hearing.     What you have are documents selected by

        3    the defense,     gathered together in petitions,           and

        4    your Honor has to look at those and treat them as

        5    if they were true in order to decide whether there

        6    is a hearing.       We submit they are not true.          We

        7    submit that Vincente's recantation is very,              very

        8    clearly the result of manipulation,            and Vincente

        9    hoping to gain a benefit through that manipulation.

      10     We also s~bmit that as far as the 14 unrelated

      11     cases,   they have another name.·         They are

      12     inadmissible in Illinois,         and i t ' s known as prior

       13    bad acts or propensity evidence.            In 2000 the

       14    Supreme Court,      because of the Area 2 John Berg

       15     scandal,   created a remedy where there was a unique

       16    pattern .. · Out of Area 2 you had allegations of

       17     electro shock and torture that weren't made in any

       18     other area 6f the city,       and to this day have not

       19     been made in any other area.          And in that case the

       20     Supreme Court said that the situation was so unique

       21     that fundamental fairness        required allowing that

       22     all those unrelated cases to be explored because

       23     the law is,    collateral cases are inadmissible.·

       24     Otherwise you get into trials within trials that

                                              48




                                                                   Plaintiff 003572
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        1     aren't relevant.       When we try a criminal case,              the

        2     issue is,     c~n   ihe State prove the person guilty

        3     beyond a reasonable .doubt.           Do we have evidence to

        4     show that the person on trial actually committed

        5     the crime?      Getting into what other people did is

        6     not allowed normally.         An exception was made for

        7     Area 2.      And that excepti6n is now case           la~.


        8                  We submit that when you see the witnesses

        9     that   t~e   defense decides to bring into CoGrt and

       10     allow you to see and assess their credibility,                   you

       11     will see that the other witnesses who claim that

       12     Guevaia engaged in misconduct are incredible.                    And

       13     in many of those other cases,               t.he judges that

       14     originally heard those claims in their own trials

       15     found them to be incredible.                It's an interesting

       16     concept where you can take a defendant in his own

       17     trial filed a motion,        testified his statement was

       18     coerced,     a Judge found him to be incredible and

       19     denied his motion,       and now      yo~    can bring it over

       20     into someone else's case and have it be treated in

       21     stages 1 and 2 of the PC as being true.                 But we

       22     submit that.when your Honor hears the live

       23     testimony and examines the full records from these

        24    14 unre.lated ~ases,      you will see that what you have

                                               49




                                                                     Plaintiff 003573
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        1     here is a detective who had a long and busy career.

        2     He lived in his area.           He   woik~d   in his area.    He

        3     was a gang officer.            He knew the gang members and

        4     they knew him.        And he stayed in that area

        5     basically his entire career which lasted for

         6    decades.      Also,   there's another convenient

         7    oversight here,       and that most of these cases are

         8    gang cases.      And people that testify in gang cases,

         9    witnesses are very brave people,indeed.                In fact,

       10     there is a national media campaign now where star

       11     athletes,     et cetera

       12           MR.    AINSWORTH:    ,Objection,       your Honoi.

       13           MS.    BONJEAN:     This is irrelevant;

        14          THE COURT:        Overruled.        I· am aware of the "no

        15    snitch" campaign.

        16          MS.    STACK:     You can take judicial notice then.

        17          THE COURT:        I am aware of it.

        18          MS.    STACK:     People who stand up to gangs,         face

        19     special obstacles,       your Honor,       now that we've

        20     reached a point where .we can finally challenge the

        21     evidence that has been submitted to you on paper

        22     only.      You will see that the recantation of
                                         '
        23     Francisco Vincente is incredible,              ridiculous.

        24     Again,     we are not trying to retry this case.             The


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                                                                    Plaintiff 003574
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        1     arguments again want to retry the case but that is

        2     not the purpose foi decades if in post-conviction

        3     law when defendants try to raise new defenses or at

        4     that take the State's evidence the case was kicked

        5     out because they were trying to retry the case.                 In

        6     1996 the Illinois Supreme Court created a new claim

        7     but placed a very high burden on the defendants.                 A

        8     burden that these defendants cannot meet.              They

        9     have to have new evidence that is material,

       10     conclusive and couldn't have been recovered

       11     earlier.     Recantations of under oath testimony are

       12     inherently reliable:        And that. is axiomatic comes

       13     from just·ice Brennan in the U.S.          Supreme Court.

       14     Francisco Vincente's recantation is indeed very

       15     incredible,    and we expect that when·we are allowed

       16     to challenge the      ~vidence,      you will not only find

       17     Francisco Vincente's recantatioQ to be incredible,

       18     but whatever witnesses they decide to bring here as

       19     concerning the propensity allegations are also

       20     incredible.      And, there's no way that based upon the

       21     evidence that they are going to present that they

       22     will meet the very high standard of actual

       23     innocence or the Patterson issue that there's newly

       24     discovered evidence,       that fundamental fairness

                                              51




                                                                   Plaintiff 003575
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        1    requires a new ttial.            Thank you.

        2            THE COURT:       Thank you,     Ms.   Stack,   just to

        3    reiterate to all the parties.                 This is not a

        4    retr.ial.      This is the issue of whether or not there

        5    should be a new trial or conviction based on that

        6    evidence.       This is not a re-trial of the facts in

        7     this case.      This is based on the issue of Patterson

        8     and what. the Court has previously ruled.

        9                  That being said,        arguments have been

       10     presented,     Ms.   Bonjean,    Mr. Ainsworth,       your first

       11.    witness.

       12            MS.   BONJEAN:     Your Honor,        at this point what we

       13     will be admitting into evidence are exhibits that

       14     have already been admitted into evidence.

       15            THE COURT:       All right.      What exhibit numbers

       16     are those?·

       17            MS.   BONJEAN:     Your Honor,        for the sake of ease

       18           as your Honor is aware we had extensive

       19     hearings.      This Court had extensive hearings with

       20     Mr.    Urdangen and Mr. Ainsworth and myself and the

       21     Court ruled on relevancy and admissibility of these

       22     exhibits,     which is precisely why we were having a

       23     hearing.      So at this point we are offering into

       24     evidence under as permitted under the

                                                52



                                                                      Plaintiff 003576
